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                                                  August 10, 2023


    VIA EMAIL and
    CERTIFIED MAIL
    RETURN RECEIPT REQUESTED
    CCR # 9314 8699 0430 0110 8645 34
    Steven Leibel, Esq.
    Steven Leibel, P.C.
    3619 S. Chestatee Street
    Dahlonega, GA 30533
    steven@leibel.com

                   Re:        Insured(s): Kenneth G. Sheets, Angela D. Sheets
                              Claimant: Elliott Wedde (deceased)
                              Claim No.: 1000419640
                              Incident Date: 3/26/2022
                              Policy Nos.: FMA 3627637 / PXS 3627643
                              Our File No.: 2237-0490

    Dear Steve:

           As you know, this firm and the undersigned represent Central Mutual Insurance
    Company in the above matter. We are in receipt of your letter dated July 25, 2023 in
    which, on behalf of your clients, you demand the $250,000 liability limits and the
    $10,000 medical payment limits of the FMA policy listed above. You indicate that the
    $250,000 demand is for the wrongful death of Elliott Wedde. Presumably, the $10,000
    medical payments demand is for the estate claim as the estate presumably incurred the
    medical expenses, although your letter does not specify. You further indicate that the
    offer is “contingent on a limited liability release,” but do not indicate who you are
    intending to release—Kenneth and Angela Sheets, Nathan Sheets, or all three of them.

            As you know, we disclaimed coverage for this claim because Nathan T. Sheets is
    listed on Named Driver Exclusions in the Central Mutual policies issued to his parents,
    Kenneth G. Sheets and Angela D. Sheets effective at the time of the accident. It is our
    understanding that upon removing Nathan Sheets from the Central Mutual policies,
    coverage for Nathan was purchased under a policy issued by State Farm. It is further our
    understanding that State Farm has tendered its limits of Nathan’s policy. Has Nathan
    already been release vis a vis the State Farm tender?

          Georgia courts have upheld named driver exclusions similar to the endorsements
    in Central Mutual’s policies which have been provided to you. Thus, we maintain the


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position that the claims against Nathan Sheets are not covered under Central Mutual’s
policies. This is particularly true when coverage under other policies has been availed to
the claimants as is the case with the State Farm policy here.

       With regard to claims alleged against Kenneth and Angela Sheets for negligent
entrustment, etc., Georgia case law also supports Central Mutual’s position that the
claim “arises out of” the excluded driver’s use of the auto, which is explicitly excluded
from coverage. However, Central Mutual recognizes the public policy interests set forth
as a result of the compulsory insurance laws in Georgia. While the cases that do not
uphold auto exclusions typically do so when the claimants lack the ability to recover
other available insurance, which is not the situation here where there is a State Farm
policy and a UM policy, Central Mutual again, recognizes the public policy interests at
issue.

       As such, without waiving its coverage position and defenses, Central Mutual is
tendering its available $25,000 liability limits in response to your demand. $25,000
represents the minimum compulsory limits in Georgia for bodily injury liability. Medical
payments coverage is not compulsory in Georgia and as such there is no coverage under
that provision of the policy. Additionally, per my reading of your demand, you have not
made a demand under the umbrella policy/PXS policy referenced above.

       I look forward to the resolution of this matter. Please provide clarification with
regards to the parties and claims you are agreeing to release in your demand and how
you would like the check issued.

      Best regards.

                                                   Very truly yours,



                                                   Stephanie F. Glickauf
SFG:gsf
